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            ORAL ARGUMENT HELD JANUARY 10, 2025
                       No. 23-7173

            In the United States Court of Appeals for the
                        District of Columbia
                             DAVID O’CONNELL,
                             Plaintiff-Appellee,
                                      v.
            UNITED STATES CONFERENCE OF CATHOLIC BISHOPS,
                        Defendant-Appellant.

Appeal from the United States District Court for the District of Columbia
                        Honorable Jia M. Cobb
                         (1:20-cv-01365-JMC)
_______________________________________________________________________________

               DEFENDANT-APPELLANT’S PETITION
                   FOR REHEARING EN BANC
_______________________________________________________________________________


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          INTRODUCTION AND RULE 40(B) STATEMENT
    This appeal concerns the scope of the First Amendment’s protection

against    judicial   interference   with   internal   church       governance.
Specifically, whether that protection permits collateral-order appeal of
an order refusing to dismiss claims that inevitably require religious

entanglement. The panel held that it does not. As a result, an
extraordinary putative class action—brought by parishioners demanding
a refund of their religious offerings to the Pope—can now proceed in civil
courts.
    The panel’s collateral-order holding rested on its conclusion that the
Religion Clauses protect against liability, not the process of inquiry itself.

That narrow view breaks with precedent from the Supreme Court, this
Court, and numerous others. In NLRB v. Catholic Bishop, the Supreme
Court held that the “very process of inquiry” into matters of faith and
church governance can “impinge on rights guaranteed by the Religion
Clauses.” 440 U.S. 490, 502 (1979). This Court has expressly relied on
that holding in each of its church-autonomy cases in the last three
decades. 1 And eleven other circuits and state high courts agree, along
with the nation’s leading Religion Clauses scholars.



1  EEOC v. Catholic Univ. of Am., 83 F.3d 455 (D.C. Cir. 1996); Univ. of
Great Falls v. NLRB, 278 F.3d 1335 (D.C. Cir. 2002); Carroll Coll. v.
NLRB, 558 F.3d 568 (D.C. Cir. 2009); Duquesne Univ. of the Holy Spirit
v. NLRB, 947 F.3d 824 (D.C. Cir. 2020).

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    The panel then created a second split when its cramped view of the
Religion Clauses led it to hold that denials of church-autonomy defenses

are categorically ineligible for collateral-order review. That holding
conflicts with the law of the Fifth Circuit and several states—including
District of Columbia precedent authored by Judge Judith Rogers. 2 Those

courts recognize that the harm caused by using governmental power to
“troll[ ] through the beliefs” and the “religious mission” of a church
“cannot be undone through a later appeal.” Loma Linda v. NLRB, No. 23-
5096, 2023 WL 7294839, at *16-17 (D.C. Cir. May 25, 2023) (Rao, J.,
dissenting).
    While the panel heavily relied on recent cases from the Second,
Seventh, and Tenth Circuits, its holding stretches beyond them. This
case presents pure questions of law, while those opinions barred
appellate review based on perceived factual disputes. And even those

narrower holdings garnered dissents from ten judges. See Garrick v.
Moody Bible Inst., 95 F.4th 1104, 1117 (7th Cir. 2024) (Brennan, J.);
Belya v. Kapral, 59 F.4th 570, 580 (2d Cir. 2023) (Park, J., joined by

Livingston, C.J., and Sullivan, Nardini, and Menashi, JJ.); id. at 573
(Cabranes, J.); Tucker v. Faith Bible Chapel, 53 F.4th 620, 625 (10th Cir.
2022) (Bacharach, J., joined by Tymkovich and Eid, JJ.). The panel
engaged with none of those dissents in setting the law of this Circuit.

2 See, e.g., Whole Woman’s Health v. Smith, 896 F.3d 362 (5th Cir. 2018);
United Methodist Church v. White, 571 A.2d 790 (D.C. 1990).

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    The panel constricted the Religion Clauses further still—and entered
a third split—by importing the “neutral principles” approach (developed

for church-property disputes) into church-governance cases. But the
Supreme Court, this Court, and five circuits and states—again including
the District of Columbia—have rejected that blinkered view.3 So have

fifteen federal appellate judges, warning that the panel’s approach would
“eviscerate” the church-autonomy doctrine. See Belya, 59 F.4th at 580
(Park, J., dissenting); accord McRaney v. NAMB, 980 F.3d 1066, 1070
(5th Cir. 2020) (Ho, J., joined by Jones, Smith, Elrod, Willett, and
Duncan, JJ., dissenting); Huntsman v. Corp. of the President of The
Church of Jesus Christ of Latter-day Saints, 127 F.4th 784, 792 (9th Cir.
2025) (en banc) (Bress, J., joined by M. Smith, Nguyen, and VanDyke,
JJ., concurring).
    The upshot of all these rulings is that the panel opinion requires what

the unanimous en banc Ninth Circuit just barred: allowing a “patently
inappropriate” offering-refund claim to proceed toward full-merits
litigation. Id. at 793 (Bress, J., concurring). Five of those judges warned

that adjudicating such claims “any further” would “obvious[ly]” and
“inescapab[ly]” violate the First Amendment. Id.; see also id. at 800
(Bumatay, J., concurring).



3 See, e.g., Serbian E. Orthodox Diocese v. Milivojevich, 426 U.S. 696,
714-15, 717 (1976); Catholic Univ., 83 F.3d at 466.


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  So too here. O’Connell’s refund claims require courts to second-guess
how reasonable parishioners would understand an invitation—delivered

from the pulpit, during Mass, for a 1,000-year-old offering—to support
the Pope’s “charitable works.” That’s unconstitutional. “Nothing says
‘entanglement with religion’ more” than adjudicating whether a church

“should have spoken with greater precision about inherently religious
topics.” Huntsman, 127 F.4th at 798 (Bress, J., concurring). Letting that
entanglement take place will irreparably harm the First Amendment’s
structural limits on judicial interference in church governance.
                     STATEMENT OF THE CASE
A. Factual Background

  The Obolo di San Pietro, or “Peter’s Pence,” is an annual offering that
has been given by Catholic faithful to the Pope for over 1,000 years.
Peter’s Pence: An Ancient Custom Still Alive Today, The Vatican (June
2018), https://perma.cc/5ATN-HSFM. These offerings support the Holy
See, see Pope Leo XIII, Paternae ¶14 (1899), which in turn has alleviated
the “need of so many churches,” Pope Blessed Pius IX, Saepe Venerabiles
Fratres ¶4 (1871). Today, Peter’s Pence continues as a gift “offered by the
faithful to the Holy Father,” to be used both for the “needs of the
Universal Church” and “the relief of those most in need.” Peter’s Pence:
How to Send Your Contribution to the Holy Father, The Vatican (June
2018), https://perma.cc/G53Z-QP7G.




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     The offerings are collected in dioceses and parishes, and sent directly
to    the    Holy    See.   Office   of       National   Collections,     USCCB,

https://perma.cc/4GCT-U4HR (“Office of National Collections”). The Pope
controls the collection’s use. 1983 Code of Canon Law 331, 360.
     The United States Conference of Catholic Bishops is an assembly of

bishops who jointly exercise pastoral functions on behalf of the Catholic
faithful in America. About USCCB, USCCB, https://perma.cc/RM7R-
FW9N. While USSCB designs promotional materials that dioceses may
choose to use in their Peter’s Pence collections, it does not oversee, collect,
or distribute the funds. A43; Office of National Collections. Nor can
USCCB control how dioceses speak about Peter’s Pence. Canon 381;
Canon 455 §4; Canon 1266.
B. Procedural Background
     On January 22, 2020, David O’Connell filed a putative class-action

complaint against USCCB in federal district court. O’Connell alleges
that he offered an unspecified amount to Peter’s Pence in 2018 after
hearing a “solicit[ation] from the pulpit” “during a Sunday Mass” at his

church. A25-26 ¶34. He doesn’t identify the speaker or specify the
content of the message. But he nevertheless alleges that he was
intentionally misled into thinking that Peter’s Pence collections would
be used “immediately” and “exclusively” for humanitarian purposes,
rather than for other religious purposes or investments intended to serve
those purposes in the future. A26 ¶36; A30-32 ¶¶48-49, 52-53, 55.


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   O’Connell   claims   that   USCCB        is   liable   in   fraud   for   his
misunderstanding because its promotional materials said Peter’s Pence

“support[s] the charitable works of Pope Francis for the relief of those
most in need,” and that contributing to Peter’s Pence “witnesses to
charity and helps the Holy See reach out compassionately to those who

are marginalized.” A17-18 ¶¶21-22.
   O’Connell has served discovery requests demanding all:
      • lists of donors to Peter’s Pence;
      • documents related to the use of Peter’s Pence offerings;
      • church laws and guidelines relating to Peter’s Pence; and
      • communications with the “Holy See, Vatican City, [and]

         Apostolic Nunciature” relating to Peter’s Pence.
See, e.g., A175. O’Connell represented that he “cannot” prove his case
without such records of the “collection, administration, accounting, or
disposition” of Peter’s Pence. A170, A172.
   USCCB filed a motion to dismiss and for judgment on the pleadings,
arguing, inter alia, that O’Connell’s claims violate the First Amendment.
In November 2023, the district court issued a short oral ruling denying
the motion, holding that this case could proceed because it involved a
“purely secular” dispute governed by “straightforward common-law
principles.” A148-49.
   USCCB timely appealed. After jurisdictional briefing, this Court
referred the jurisdictional question to the merits panel.


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C. Panel Decision
   The merits panel dismissed the appeal for lack of jurisdiction under

28 U.S.C. §1291. It held that the church-autonomy doctrine doesn’t
provide “an immunity from suit” or “trial,” but is instead merely “a
defense to liability” that must await vindication “after trial.” Op.20-21.

Thus, because permitting O’Connell’s case to proceed wouldn’t interfere
with USCCB’s right “to manage its own non-secular affairs free from
governmental     interference,”     Op.15,   collateral-order     review    is
categorically unavailable, Op.19.
   The panel also decided that “the First Amendment does not bar
judicial examination of [a] claim” when a plaintiff “can plausibly assert a

secular claim capable of resolution according to neutral principles of law”
because it doesn’t “require inquiry into doctrinal disputes.” Op.13, 20.
                              ARGUMENT
I. The panel decision conflicts with the Supreme Court, this
   Court, and eleven other courts in holding the Religion Clauses
   do not protect against entangling proceedings.
   The panel held that the denial of a church-autonomy defense is not
entitled to collateral-order appeal because the doctrine is “a defense to
liability” that “does not confer immunity from trial” or “suit” and “can be
adequately addressed after trial.” Op.20-21. That holding breaks with the
Supreme Court, this Court’s precedents, and eleven other circuits and
state high courts. Such a departure warrants rehearing.



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   A. The panel decision conflicts with Supreme Court and D.C.
      Circuit precedent.
   The panel’s ruling conflicts with Supreme Court precedent. The
canonical case is Catholic Bishop, which held that “the very process of
inquiry” into matters of faith and church governance can “impinge on

rights guaranteed by the Religion Clauses.” 440 U.S. at 502. There, even
the “risk” of “entanglement” caused by inquiry into the relationship
between “the good faith” of the church’s legal positions and its “religious
mission” required denying NLRB jurisdiction over religious schools. Id.
   Similarly, Milivojevich held that because “[r]eligious controversies are
not the proper subject of civil court inquiry,” letting courts analyze the

“ecclesiastical actions of a church” would require “exactly the inquiry that
the First Amendment prohibits.” 426 U.S. at 713. And Our Lady of
Guadalupe School v. Morrissey-Berru explained that “[j]udicial review”
alone can “undermine the independence of religious institutions in a way
that the First Amendment does not tolerate.” 591 U.S. 732, 738 (2020);
see also Hosanna-Tabor v. EEOC, 565 U.S. 171, 205-06 (2012) (Alito, J.,

joined by Kagan, J., concurring) (the “mere adjudication” of pretext
inquiries “pose[s] grave problems for religious autonomy”). Each of “these
cases leads to the same conclusion: that ‘the very process of inquiry’ into

matters of faith and church governance offends the Religion Clauses.”
Belya, 59 F.4th at 577 n.2 (Park, J., dissenting).




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   The panel also deviated from this Court’s precedents, claiming that
“[n]one” of them “even suggest[ ] that ‘harm arising from the process of

inquiry into religious disputes’ warrants immediate review.” Op.24. That
doesn’t square with 30 years of this Court’s express reliance on Catholic
Bishop to prohibit unconstitutional inquiry. Catholic Univ., 83 F.3d at

466; Great Falls, 278 F.3d at 1341; Carroll Coll., 558 F.3d at 571;
Duquesne, 947 F.3d at 829.
   This Court’s precedent has done far more than merely suggest that
church autonomy protects from entangling adjudication. Catholic
University held that being “deposed, interrogated, and haled into court”
over a religious dispute violates the First Amendment because it forces

religious bodies to make ecclesiastical decisions “with an eye to avoiding
litigation or bureaucratic entanglement.” 83 F.3d at 466-67. Duquesne
honored the First Amendment’s “scrupulous policy” against “political
interference with religious affairs” by affirming this Circuit’s “bright-line
test” to “altogether exempt” religious bodies from future inquiry into
“matters of religious doctrine or motive.” 947 F.3d at 828, 831. And both
Great Falls and Carroll College emphatically stressed Catholic Bishop’s
“very process of inquiry” standard and connected it to Supreme Court
rulings from “numerous other contexts” where preventing “intrusive
inquiry” justified completely exempting churches from “‘case-by-case’”
adjudication of certain claims. Great Falls, 278 F.3d at 1341-42; Carroll
Coll., 558 F.3d at 571.


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   In sum, the “protections at the root of Catholic Bishop are as vital
today as they ever have been.” Loma Linda, 2023 WL 7294839, at *16-18

(Rao, J., dissenting). Forcing religious bodies to “wait[ ] for the conclusion
of intrusive [civil] proceedings” will thus cause “an ongoing injury” that
“cannot be redressed after the fact.” Id.
   B. The panel decision splits with eleven other courts.
   The panel claims that “[n]o federal court has ever held that the church
autonomy doctrine establishes a constitutional right to immunity from
suit in cases concerning secular claims.” Op.20. But this case isn’t about
“secular” claims, and courts “should not indulge in the illusion” that it is.
Huntsman, 127 F.4th at 793 (Bress, J., concurring). When considering

claims—like O’Connell’s—that facially entangle courts in ecclesiastical
affairs, six federal circuits and five state high courts have recognized that
the Religion Clauses protect against the burdens of litigation, similar to
an immunity.
   The Third, Fourth, Fifth, Sixth, Eighth, and Ninth Circuits have held
that the Religion Clauses protect from “legal process[es] designed to
probe the mind of the church.” Rayburn v. Gen. Conf. of Seventh-day
Adventists, 772 F.2d 1164, 1171 (4th Cir. 1985). For instance, Billard v.
Charlotte Catholic High School explained that the First Amendment

“immunizes” and “exempt[s]” the religious “decisions of religious entities”
from “legal process.” 101 F.4th 316, 325-26 (4th Cir. 2024). The Ninth
Circuit likewise held that “the First Amendment generally prohibits


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merits discovery and trial” in church-autonomy cases because “the
process of judicial inquiry” into church governance constitutes

“unconstitutional judicial action.” Markel v. Union of Orthodox Jewish
Congregations, 124 F.4th 796, 808-09, 809 n.5 (9th Cir. 2024). And the
Fifth Circuit has recognized that the Clauses provide “structural

protection” against “judicial discovery procedures.” Whole Woman’s
Health, 896 F.3d at 367, 373-74.
   Similarly, the Third and Sixth Circuits have held that the Religion
Clauses impose a “structural limitation” that “categorically prohibits”
judicial “involve[ment]” in religious disputes. Conlon v. IVCF, 777 F.3d
829, 836 (6th Cir. 2015); Lee v. Sixth Mount Zion Baptist Church, 903

F.3d 113, 118 n.4 (3d Cir. 2018) (similar). And the Eighth Circuit agrees
that “per se religious matters” of church governance “cannot be reviewed
by civil courts.” Scharon v. St. Luke’s, 929 F.2d 360, 363 (8th Cir. 1991).
   The panel’s holding that church-autonomy defenses “can be
adequately addressed after trial,” Op.20-21, is also in tension with the
unanimous en banc Ninth Circuit’s rejection of an offering-refund claim
before the case could reach full merits discovery. Huntsman, 127 F.4th at
784. And it sharply conflicts with five concurring judges’ explanation that
allowing the “extraordinary and patently inappropriate” refund claims to
“go any further” would have violated the First Amendment. Id. at 792-
93, 796-99 (Bress, J., concurring); accord id. at 800 (Bumatay, J.,
concurring).


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   The Second, Seventh, and Tenth Circuit cases that the panel claims
justify its holdings are distinguishable. Op.15-16. Unlike the panel, those

cases acknowledge that courts have analogized church autonomy to an
immunity, and thus instead rely on factual disputes (nonexistent here)
as key to their disposition. USCCB Br.27-29. Moreover, those decisions
drew dissents from ten judges, supra at 2, who correctly predicted that
allowing the cases to proceed would cause First Amendment injury.
Weinberger Br.13-17, https://perma.cc/7VCZ-LYGJ.
   The District of Columbia, Connecticut, Kentucky, North Carolina,
Texas, and leading scholars have also agreed that, in matters of church
governance, the First Amendment “grant[s] churches an immunity from
civil discovery and trial.” White, 571 A.2d at 792 (Rogers, C.J.); USCCB
Br.26-27 (listing cases); Scholars Br.18-23, https://perma.cc/737S-GN78.
II. The panel decision splits with the Fifth Circuit and four states
    in holding church autonomy ineligible for interlocutory review.
   As the panel indicates, collateral-order review would be appropriate if
church autonomy were a right that would “be destroyed if not vindicated

before trial” and thus “effectively unreviewable on appeal from the final
judgment.” Op.15-16; see also Muller Br.2, https://perma.cc/DJ9X-2XR3
(summarizing “the Supreme Court’s longstanding … construction of
Section 1291”). But since the panel ruled that church autonomy can await
post-trial review, it held—as a matter of first impression in this Circuit—
that it lacked jurisdiction. Op.15. That split with the Fifth Circuit, the

District of Columbia, Connecticut, Kentucky, and North Carolina.

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   The Fifth Circuit permitted interlocutory appeal from the denial of
church-autonomy defenses in Whole Woman’s Health v. Smith, holding

that “interlocutory court orders bearing on First Amendment rights
remain subject to appeal pursuant to the collateral order doctrine.” 896
F.3d at 368 (collecting cases). Citing the Constitution’s “structural

protection afforded religious organizations,” the Fifth Circuit held that
the collateral-order doctrine was satisfied because “the consequence of
forced discovery”—production of internal church communications—
would be “‘effectively unreviewable’ on appeal from the final judgment.”
Id. at 367, 373.
   The panel distinguished Whole Woman’s Health as limited to nonparty
discovery orders. Op.20-21. But the Fifth Circuit has explained that it
was rather the “substantial First Amendment implications” in that case
which required deviating from the otherwise-universal prohibition on

interlocutory review of nonparty discovery orders. Leonard v. Martin, 38
F.4th 481, 487 (5th Cir. 2022). And the Fifth Circuit has applied Whole
Woman’s Health to allow parties to appeal orders that “arguably infringe
on First Amendment rights.” X Corp. v. Media Matters, 120 F.4th 190,
196 (5th Cir. 2024). The court explained that, “in the collateral order
context as in others, the ‘loss of First Amendment freedoms, for even
minimal periods of time, unquestionably constitutes irreparable injury.’”
Id.




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    Similarly, in the District of Columbia, Connecticut, Kentucky, and
North Carolina, denial of a church-autonomy defense “is immediately

appealable as a collateral order” because the “constitutional rights of the
church to operate free of judicial scrutiny” must be “reviewed pretrial or
[they] can never be reviewed at all.” White, 571 A.2d at 792-93 (applying

Cohen v. Beneficial Indus., 337 U.S. 541 (1949)); USCCB Br.26-27
(collecting cases). Scholars agree. See Scholars Br.29; Muller Br.18-21.
    Again, the panel’s reliance on the Second, Seventh, and Tenth Circuits
is misplaced. Those decisions left open the possibility of collateral-order
review, USCCB Br.28-29, which the panel forecloses. And, again, ten
judges vigorously dissented from those opinions, which the panel failed

to acknowledge in setting the law of this Circuit. Supra at 2.
    At bottom, rather than giving church autonomy the “special solicitude”
the Religion Clauses demand, Hosanna-Tabor, 565 U.S. at 189, the panel
disfavored   it.   Other   threats   to   First     Amendment         (and   even
unenumerated) rights are regularly worth the “appellate court work” of
interlocutory review. Op.12.4 And other claims to immunity need be only

“colorable” to warrant review. United States v. Trump, 91 F.4th 1173,
1187 (D.C. Cir. 2024). Yet the panel dismissed inevitable constitutional
injury here as simply “encumbrance[s]” or “adjudicative burdens.” Op.17.


4  See USCCB Reply Br.14 (collecting cases); League of Women Voters v.
Newby, 963 F.3d 130 (D.C. Cir. 2020) (intervention); Oglala Sioux Tribe
v. U.S. Nuclear Regul. Comm’n, 896 F.3d 520 (D.C. Cir. 2018) (licensure).

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And its statement that the court on remand may “safeguard” USCCB via
discovery limits and “jury instructions,” id., shows its error. Any discovery

and jury trial here harms USCCB’s “immuni[ty]” from entanglement.
Billard, 101 F.4th at 325. Courts cannot “emcee religious disputes, much
less decide them.” Huntsman, 127 F.4th at 800 (Bress, J., concurring).
III.The panel decision conflicts with the Supreme Court, this
    Court, and five other courts in adopting the “neutral
    principles” approach.
   The panel further narrowed church autonomy by stating that it affords
no protection “if a plaintiff can plausibly assert a secular claim capable
of resolution according to neutral principles of law,” which is true
whenever “resolution of the case does not require inquiry into doctrinal
disputes.” Op.13, 20. That rule conflicts with precedent of the Supreme
Court, this Court, and five other courts.
   To start, the “neutral principles” approach was developed for church-
property disputes, Presbyterian Church v. Blue Hull Mem’l Presbyterian
Church, 393 U.S. 440, 449 (1969), and the Supreme Court has never

applied it outside that context. Rather, it has repeatedly rejected
“reli[ance] on purported ‘neutral principles’” to adjudicate matters
relating to “internal [church] discipline and government”—even where,

as here, lower courts felt they could avoid “determination of theological
or doctrinal matters.” Milivojevich, 426 U.S. at 715, 721, 724; Hosanna-
Tabor, 565 U.S. at 188, 190 (refusing to apply “neutral” laws to a dispute

that “interfere[d] with the internal governance of the church”).

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    This Court has also declined to apply the approach beyond “trust and
property law.” Catholic Univ., 83 F.3d at 466. When, like the panel here,

Op.14, EEOC “insist[ed]” that a religious dispute could be “resolved … by
invoking ‘neutral principles,’” this Court took exception because of the
“inevitable risk” of entanglement in church governance. Catholic Univ.,

83 F.3d at 465-66. Similarly, Minker v. Baltimore Annual Conference of
United Methodist Church found the “neutral principles” approach
unsuitable for a contract claim that would “inevitably” require intrusion
into “highly subjective, spiritual, and ecclesiastical” matters. 894 F.2d
1354, 1359 (D.C. Cir. 1990). 5
    Five other circuits and states—again including the District of
Columbia—have also refused to extend the approach to matters of church
governance. Hutchison v. Thomas, 789 F.2d 392, 396 (6th Cir. 1986)
(approach applies “only” to church-property disputes and should “never”

be “extended to religious controversies in the areas of church
government”); Simpson v. Wells Lamont Corp., 494 F.2d 490, 493-94 (5th
Cir. 1974) (rejecting approach in church-governance disputes and the
idea that church autonomy bars only “interpretation of religious
doctrine”); USCCB Br. 48 (listing Arkansas, D.C., and Texas precedent).



5  While Minker allowed a “fairly direct inquiry” into the mere existence
of a contract, it still required the plaintiff to “demonstrate that he can
prove his case without resorting to impermissible avenues of discovery,”
894 F.2d at 1360—something O’Connell admitted he cannot do. A172.

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   Fifteen federal judges from three circuits agree. Six judges on the Fifth
Circuit explained that the logic of extending the approach to a defamation

claim meant “no claim would ever be subject to the church autonomy
doctrine” because “every civil plaintiff purports to invoke neutral legal
principles.” McRaney, 980 F.3d at 1070 (Ho, J., dissenting). And five

Second Circuit judges likewise warned that “[g]iving courts a license to
apply ‘neutral principles’ to matters of church government, faith, or
doctrine would swallow the church autonomy doctrine altogether.” Belya,
59 F.4th at 580-82 (Park, J., dissenting).
   As particularly applicable here, four Ninth Circuit judges in
Huntsman explained that litigants cannot “sideline the church autonomy

doctrine” by “invok[ing]” an ostensibly “neutral” “state-law prohibition on
fraud.” 127 F.4th at 797-99 (Bress, J., concurring). Adjudicating the
elements of fraud in an offering-refund claim would “quickly devolve” into
deciding “inherently religious questions,” such as “why a reasonable
member of the Church … would or should tithe.” Id. Thus, “a suit like
this could never succeed under the First Amendment’s church autonomy
doctrine.” Id. at 793.
   This is a suit like Huntsman, but more entangling. O’Connell asks a
civil court to determine why a “reasonable” Church member—and a
putative nationwide class of reasonable members—would give to “the
charitable works of Pope Francis,” in the context of an offering with over
a millennium of accumulated religious meaning. See, e.g., Denominations


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Br.11-12, https://perma.cc/BS5B-QFQJ. That the panel saw all that as a
“purely secular” dispute subject to the “neutral principles” approach,

Op.14, shows how expansive the approach will be if left uncorrected.
                            CONCLUSION
   “[T]he issues at hand are of ‘exceptional importance’ and surely

deserve further appellate review.” Belya, 59 F.4th at 573 (Cabranes,
J., dissenting). USCCB respectfully requests rehearing en banc.


                                         Respectfully submitted,

                                         /s/ Daniel H. Blomberg
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   May 27, 2025




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                     CERTIFICATE OF COMPLIANCE
   I hereby certify that:
   This petition complies with the requirements of Fed. R. App. P. 40(d)(3)
because it has 3,898 words. This petition complies with the typeface and
type-style requirements of Fed. R. App. P. 32(a)(5), (6) because this motion
has been prepared in a proportionally spaced typeface using Microsoft

Word in 14-point font.

                                          /s/ Daniel H. Blomberg
                                          Daniel H. Blomberg




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                      CERTIFICATE OF SERVICE
   I certify that on May 27, 2025, a copy of this petition was filed with the
Clerk of the Court’s electronic filing system. That electronic filing system
is designed to serve all counsel of record.

                                              /s/ Daniel H. Blomberg
                                              Daniel H. Blomberg




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                             ADDENDUM




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              United States Court of Appeals
                      FOR THE DISTRICT OF COLUMBIA CIRCUIT



             Argued January 10, 2025              Decided April 25, 2025

                                    No. 23-7173

                                 DAVID O'CONNELL,
                                    APPELLEE

                                          v.

                 UNITED STATES CONFERENCE OF CATHOLIC BISHOPS,
                                  APPELLANT


                     Appeal from the United States District Court
                             for the District of Columbia
                                 (No. 1:20-cv-01365)



                 Daniel H. Blomberg argued the cause for appellant. With
             him on the briefs were Kevin T. Baine, Emmet T. Flood, Laura
             Wolk Slavis, Colten L. Stanberry, Kelly R. Oeltjenbruns, and
             Kelsey Baer Flores. Mark S. Storslee entered an appearance.

                 Daniel F. Mummolo, Christopher G. Michel, and Rachel
             G. Frank were on the brief for amicus curiae Federal Courts
             Professor Derek T. Muller in support of appellant.

                  Aaron M. Streett and Matthew M. Hilderbrand were on the
             brief for amicus curiae Dr. Lael Weinberger in support of
             appellant.




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                 Michael J. Showalter, Victoria N. Lynch-Draper, and Joel
             S. Nolette were on the brief for amici curiae Seven Religious
             Organizations in support of appellant.

                 Thomas G. Hungar, Russell B. Balikian, and Cameron J.
             E. Pritchett were on the brief for amici curiae Law & Religion
             Scholars in support of appellant.

                  Gabriel Z. Doble argued the cause for appellee. With him
             on the brief were Martin Woodward and Simon C. Franzini.

                  Jenny Samuels and Alex J. Luchenitser were on the brief
             for amicus curiae Americans United for Separation of Church
             and State in support of appellee.

                 Before: SRINIVASAN, Chief Judge, CHILDS, Circuit Judge,
             and EDWARDS, Senior Circuit Judge.

                Opinion for the Court filed by Senior Circuit Judge
             EDWARDS.

                  EDWARDS, Senior Circuit Judge: This case involves an
             action by Appellee, David O’Connell, against Appellant,
             United States Conference of Catholic Bishops (“USCCB”), for
             fraudulent solicitation of donations. In his complaint,
             O’Connell claims that, at the urging of USCCB, he and others
             donated money to Peter’s Pence Collection for the purported
             purpose of helping those in immediate need of assistance in
             disaster-stricken parts of the world. O’Connell contends,
             however, that USCCB fraudulently concealed that most of the
             donations to Peter’s Pence were not for victims of war,
             oppression, natural disaster, or disease, as he and others
             allegedly had been told. Rather, according to O’Connell, most
             of the donated money was “diverted into various suspicious




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             investment funds, which in turn have funneled the money into
             such diverse ventures as luxury condominium developments
             and Hollywood movies while paying fund managers hefty,
             multi-million dollar commissions.” Complaint ¶ 4.

                  Before discovery and trial, USCCB moved to dismiss the
             case in District Court. USCCB contended that the court had no
             subject matter jurisdiction because O’Connell’s action was
             barred by the church autonomy doctrine. Without in any way
             addressing the merits of the parties’ claims, the District Court
             denied the motion to dismiss. The court found that, at this stage
             of the litigation, O’Connell’s claims raised a purely secular
             dispute that could be resolved according to neutral principles
             of law. However, the District Court made it clear to the parties
             that it could not and would not address purely religious
             questions, should they arise during litigation. Thereafter, rather
             than proceeding with trial, USCCB filed an appeal with this
             court seeking interlocutory review. For the reasons explained
             below, we dismiss this appeal for want of jurisdiction and
             remand the case to the District Court for further proceedings.

                  Section 1291 of the Judicial Code confers on federal courts
             of appeals jurisdiction to review “final decisions of the district
             courts.” 28 U.S.C. § 1291. “A ‘final decisio[n]’ is typically one
             ‘by which a district court disassociates itself from a case.’”
             Mohawk Indus., Inc. v. Carpenter, 558 U.S. 100, 106 (2009)
             (alteration in original) (quoting Swint v. Chambers Cnty.
             Comm’n, 514 U.S. 35, 42 (1995)). The collateral order
             doctrine, however, provides a limited exception to this final
             decision rule for a “small class” of collateral rulings that,
             although they do not end the litigation, are appropriately
             deemed “final.” Cohen v. Beneficial Indus. Loan Corp., 337
             U.S. 541, 546 (1949). This “small category includes only
             decisions that are [1] conclusive, [2] that resolve important
             questions separate from the merits, and [3] that are effectively




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             unreviewable on appeal from the final judgment in the
             underlying action.” Swint, 514 U.S. at 42 (citation omitted).
             The Supreme Court has made it clear that these requirements
             are stringent. Will v. Hallock, 546 U.S. 345, 349 (2006). The
             Court has also stressed the importance of the third Cohen
             requirement, i.e., a decision that can be effectively reviewed on
             appeal is not covered by the collateral order doctrine. See, e.g.,
             Mohawk Indus., 558 U.S. at 107-08. The Court has openly
             acknowledged that many trial court rulings “may burden
             litigants in ways that are only imperfectly reparable by
             appellate reversal of a final district court judgment.” Digit.
             Equip. Corp. v. Desktop Direct, Inc., 511 U.S. 863, 872 (1994)
             (citations omitted). Nevertheless, the Court has been resolute
             in saying that “the mere identification of some interest that
             would be ‘irretrievably lost’ has never sufficed to meet the third
             Cohen requirement.” Id. (quoting Richardson-Merrell Inc. v.
             Koller, 472 U.S. 424, 431 (1985)).

                  USCCB attempts to bring a collateral order appeal to
             challenge the District Court’s order denying its motion to
             dismiss based on the church autonomy doctrine. The church
             autonomy doctrine protects against government interference in
             matters of faith, doctrine, and internal management. It may be
             raised as a defense in a civil suit, but it does not immunize
             religious organizations from civil actions. Pleading-stage
             denials of a church autonomy defense, such as the contested
             motion to dismiss in this case, do not satisfy the strict
             requirements of the collateral order doctrine. They are neither
             conclusive nor separate from the merits and, most importantly,
             they can be reviewed upon post-judgment appeal.

                  Neither the Supreme Court nor any circuit has ever
             expanded the collateral order doctrine to categorically cover
             alleged denials of a church autonomy defense. This is hardly
             surprising. The limited scope of the collateral order doctrine




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             reflects a healthy respect for the virtues of the final decision
             rule, which serves as an important safeguard against piecemeal
             and premature review. USCCB’s claimed rights can be
             adequately addressed on appeal after the District Court issues
             a final decision and, therefore, are not eligible for collateral
             order appeal.

                                    I. BACKGROUND

                A. Factual and Procedural History

                  Appellant USCCB, headquartered in Washington, D.C., is
             an organization of Roman Catholic Bishops serving the United
             States and the U.S. Virgin Islands. As part of its mission to
             support the work of the Catholic Church, USCCB oversees the
             promotion of the Peter’s Pence Collection, an annual offering
             given by the Catholic faithful to the Pope. Complaint ¶ 18-19.
             Specifically, USCCB creates materials, such as letters, web
             ads, and posters, promoting the Collection which can then be
             used in parishes and dioceses. Id. ¶ 20.

                  Appellee David O’Connell donated to Peter’s Pence at a
             Rhode Island church in the summer of 2018. Id. ¶ 34. On
             January 22, 2020, O’Connell filed a class action complaint in
             federal district court against USCCB, asserting claims of fraud,
             unjust enrichment, and breach of fiduciary duty. He seeks to
             represent a class of all persons in the United States who have
             donated money to the Peter’s Pence Collection. O’Connell
             initially sued USCCB in the U.S. District Court for the District
             of Rhode Island. On USCCB’s motion, the case was transferred
             to the U.S. District Court for the District of Columbia.

                  According to O’Connell, he was led to believe by USCCB
             that his donations to Peter’s Pence would be used only “for
             emergency assistance” to “the poor” and “victims of war,




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             oppression, natural disaster, or disease throughout the world.”
             Id. ¶¶ 35-36, 48. However, in 2019, news organizations
             published stories revealing that Peter’s Pence funds were used
             to support the Vatican’s administrative budget, placed in
             various investments including Hollywood films and real estate,
             or used to pay hefty commissions for fund managers, with only
             ten percent going to the charitable causes featured in USCCB’s
             promotional materials. Id. ¶¶ 27-30. O’Connell alleges that
             “USCCB has always known the difference between a donation
             for emergency assistance and a donation to defray Vatican
             administrative expenses. But USCCB hid this distinction in its
             promotion, oversight, and administration of the Peters [sic]
             Pence collection in the United States.” Id. ¶ 36. He also
             maintains that if USCCB had disclosed the actual purposes for
             which the funds would be used, he would not have donated to
             the Collection. Id. ¶ 35. O’Connell does not allege that the
             church cannot use collected funds for particular purposes, such
             as for investments or overhead expenses – only that USCCB
             cannot misrepresent how the funds will be used. See Br. for
             Plaintiff-Appellee 5-6.

                  USCCB answered the complaint in July 2020. Shortly
             thereafter, O’Connell served document production requests.
             Those requests sought documents showing the Peter’s Pence
             promotional materials that USCCB created; lists of donors and
             amounts received; USCCB’s knowledge of how the funds
             would be used; and how the funds were used. The District
             Court has had no occasion to rule on these requests. There has
             been no discovery.

                  After answering the complaint, USCCB moved to dismiss
             for lack of subject matter jurisdiction and for judgment on the
             pleadings. USCCB argued that the complaint was barred by the
             church autonomy doctrine, which is grounded in the First
             Amendment and prevents civil courts from hearing matters of




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             church doctrine and internal governance. USCCB also argued
             that O’Connell had failed to adequately plead his claims.

                  The District Court denied USCCB’s motions in an oral
             ruling and minute order on November 17, 2023. Tr. of Hearing
             (Nov. 17, 2023). The court ruled that it had subject matter
             jurisdiction because, at least at this stage of the litigation,
             O’Connell’s claims raised a purely secular dispute involving
             affirmative misrepresentations and fraudulent omissions,
             which the District Court could resolve by applying “neutral
             principles of law.” Id. at 5-7. In other words, the District Court
             saw “no need” to “inquire into church operations, religious
             doctrine, religious hierarchy, or religious decisionmaking to
             evaluate the merits of [plaintiff’s] claim. Instead, this is a case
             about what defendant represented, what it knew, and the
             relationship between defendant and plaintiff as a putative class
             representative.” Id. at 6. As such, the District Court found that
             “at this stage, it’s not apparent . . . that the resolution of the
             claims will involve impermissible religious entanglement.” Id.
             at 7. Accordingly, it declined to dismiss the case on the basis
             of the church autonomy doctrine.

                  The District Court also took care to recognize the
             limitations imposed by the church autonomy doctrine. It made
             clear that it would not – and could not – answer purely religious
             questions, should they arise during litigation. Id. at 6. For
             example, the court would not and “could not rule that the
             church could only exercise its financial discretion in one way
             or another.” Id. The District Court made it clear, however, that
             it does not believe religious determinations are required for it
             “to determine, under straightforward common-law principles,
             whether or not fraud took place.” Id.

                 In addition, the District Court denied USCCB’s motion for
             judgment on the pleadings because material disputes of fact




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             remained as to O’Connell’s claims. Id. at 7. It also concluded
             that O’Connell had adequately pleaded his claims.

                  USCCB timely appealed the District Court’s decision and
             advances three arguments on appeal. It argues that this court
             has jurisdiction over the interlocutory appeal; that O’Connell’s
             claims are barred by the church autonomy doctrine; and that
             O’Connell failed to adequately plead his claims. O’Connell, in
             turn, disagrees with each of these arguments.

                B. Legal Background

                This case primarily concerns two doctrines: the collateral
             order doctrine and the church autonomy doctrine.

                     1. Collateral Order Doctrine

                 As noted above, the appellate jurisdiction of the federal
             courts of appeals is generally limited to “final decisions of the
             district courts of the United States.” 28 U.S.C. § 1291. A final
             decision is typically one that “ends the litigation on the merits
             and leaves nothing for the court to do but execute the
             judgment.” Catlin v. United States, 324 U.S. 229, 233 (1945).
             Known as the final decision rule, this limitation on the
             jurisdiction of federal appellate courts has long served an
             important purpose: It protects against piecemeal and premature
             review.

                As the Supreme Court has explained,

                     Congress from the very beginning has, by forbidding
                     piecemeal disposition on appeal . . . , set itself against
                     enfeebling judicial administration. Thereby is avoided
                     the obstruction . . . that would come from permitting the
                     harassment and cost of a succession of separate appeals




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                     . . . . To be effective, judicial administration must not
                     be leaden-footed.

             Cobbledick v. United States, 309 U.S. 323, 325 (1940). Beyond
             concerns of judicial economy, the final decision rule also
             “emphasizes the deference that appellate courts owe to the trial
             judge as the individual initially called upon to decide the many
             questions of law and fact that occur in the course of a trial.”
             Firestone Tire & Rubber Co. v. Risjord, 449 U.S. 368, 374
             (1981). It would be unwise for an appellate court to
             prematurely jump into the fray, without the benefit of the trial
             court’s rulings and with only the guidance of a partially
             developed record. Thus, as a fundamental principle of the
             federal courts system, the final decision rule does not
             accommodate exceptions for issues merely because they are
             important and deserving of attention. The exceptions to the rule
             that do exist are few and far between.

                  This case implicates one exception – the collateral order
             doctrine. “[A]n expansive interpretation of [section 1291’s]
             finality requirement” first announced in Cohen, the collateral
             order doctrine allows appeals “from orders characterized as
             final . . . even though it may be clear that they do not terminate
             the action or any part of it.” 15A CHARLES ALAN WRIGHT,
             ARTHUR R. MILLER, & EDWARD H. COOPER, FEDERAL
             PRACTICE AND PROCEDURE § 3911, Westlaw (database updated
             June 2024); see also Cohen, 337 U.S. at 545-46. This exception
             to the final decision rule is limited to a ‘‘narrow and selective’’
             class of orders that (1) are “effectively unreviewable on appeal
             from a final judgment”; (2) “conclusively determine the
             disputed question”; and (3) “resolve an important issue
             completely separate from the merits of the action.” Will, 546
             U.S. at 349-50 (internal quotation marks omitted); see also
             United States v. Trump, 88 F.4th 990, 1000 (D.C. Cir. 2023).
             These requirements are meant to be difficult to satisfy, as “the




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             narrow exception should stay that way and never be allowed to
             swallow the general rule that a party is entitled to a single
             appeal” after “final judgment has been entered.” Digit. Equip.
             Corp., 511 U.S. at 868 (internal quotation marks and citation
             omitted).

                   Over the years, the Supreme Court has provided the courts
             of appeals with general guideposts to follow when assessing
             these three stringent conditions. First, an order is “effectively
             unreviewable” where the “legal and practical value” of the
             asserted right “would be destroyed if it were not vindicated
             before trial.” Lauro Lines s.r.l. v. Chasser, 490 U.S. 495, 498-
             99 (1989) (internal quotation marks and citations omitted). As
             noted above, the fact that a ruling “may burden litigants in ways
             that are only imperfectly reparable by appellate reversal of a
             final district court judgment” is not sufficient. Mohawk Indus.,
             558 U.S. at 107 (citation omitted). Nor is it sufficient for
             litigants to rest on the importance of the asserted right when
             seeking interlocutory review. See id. at 108. Rather, “[t]he
             crucial question” is “whether deferring review until final
             judgment so imperils the interest [at stake] as to justify the cost
             of allowing immediate appeal of the entire class of relevant
             orders.” Id. Second, a conclusive determination is required. An
             order is conclusive when it is the “complete, formal, and, in the
             trial court, final rejection of” the issue. Abney v. United States,
             431 U.S. 651, 659 (1977). The decision must “not constitute
             merely a ‘step toward final disposition of the merits of the
             case.’” Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 171 (1974)
             (quoting Cohen, 337 U.S. at 546). Finally, the order must
             involve a “claim[] of right separable from, and collateral to,
             rights asserted in the action.” Cohen, 337 U.S. at 546. Orders
             are “entwined with the merits” when “courts of appeals will
             often have to review the nature and content of” the merits to
             determine the issue on appeal. Richardson-Merrell, 472 U.S. at
             439. Although complete separation is not required, the asserted




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             interest on appeal must be “conceptually distinct.” Mitchell v.
             Forsyth, 472 U.S. 511, 527 (1985).

                  When assessing these three requirements of the collateral
             order rule, “we do not engage in an ‘individualized
             jurisdictional inquiry.’” Mohawk Indus., 558 U.S. at 107
             (citation omitted). “As long as the class of claims, taken as a
             whole, can be adequately vindicated by other means, the
             chance that the litigation at hand might be speeded, or a
             particular injustic[e] averted, does not provide a basis for
             jurisdiction under § 1291.” Id. (alteration in original) (internal
             quotation marks omitted). The question of whether an order is
             appealable is thus “determined for the entire category to which
             a claim belongs” rather than for individual cases. Digit. Equip.
             Corp., 511 U.S. at 868. For our purposes, the relevant category
             of orders involves denials of a pleading-stage motion to dismiss
             based on the church autonomy defense.

                   Front of mind when applying Cohen’s collateral order
             doctrine is the Supreme Court’s command that “the class of
             collaterally appealable orders . . . remain ‘narrow and selective
             in its membership.’” Mohawk Indus., 558 U.S. at 113 (quoting
             Will, 546 U.S. at 350). The Court’s admonition “reflects a
             healthy respect for the virtues of the final-judgment rule”:
             “Permitting piecemeal, prejudgment appeals . . . undermines
             efficient judicial administration and encroaches upon the
             prerogatives of district court judges, who play a special role in
             managing ongoing litigation.” Id. at 106 (internal quotation
             marks and citations omitted); see also Richardson-Merrell, 472
             U.S. at 436 (“[D]istrict judge[s] can better exercise [their]
             responsibility [to police the prejudgment tactics of litigants] if
             the appellate courts do not repeatedly intervene to second-
             guess prejudgment rulings.”).




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                  As mentioned earlier, an interlocutory appeal “risks
             additional, and unnecessary, appellate court work either when
             it presents appellate courts with less developed records or when
             it brings them appeals that, had the trial simply proceeded,
             would have turned out to be unnecessary.” Johnson v. Jones,
             515 U.S. 304, 309 (1995). Too many interlocutory appeals can
             thus cause serious harm and, as such, they “are the exception,
             not the rule.” Id.

                  Accordingly, the Supreme Court has rarely extended the
             collateral order doctrine to cover new categories. Indeed, there
             are presently less than ten categories of orders falling under the
             collateral order doctrine – none of which are applicable to this
             case. See Belya v. Kapral, 45 F.4th 621, 629 n.5 (2d Cir. 2022)
             (collecting cases); see, e.g., Abney, 431 U.S. at 659 (orders
             denying a criminal defendant’s claim of double jeopardy);
             Nixon v. Fitzgerald, 457 U.S. 731, 742 (1982) (orders denying
             a public official’s claim of absolute immunity); P.R. Aqueduct
             & Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S. 139, 144-45
             (1993) (orders denying a state’s claim of Eleventh Amendment
             immunity).

                  Moreover, Congress has authorized the Supreme Court to
             promulgate rules “defin[ing] when a ruling of a district court is
             final for the purposes of appeal under [28 U.S.C. § 1291].” 28
             U.S.C. § 2072(c). “Congress’ designation of the rulemaking
             process as the way to define or refine when a district court
             ruling is ‘final’ and when an interlocutory order is appealable
             warrants the Judiciary’s full respect.” Swint, 514 U.S. at 48.
             Thus, as the Supreme Court has made clear, rulemaking, rather
             than expansion by court decision, is “the preferred means for
             determining whether and when prejudgment orders should be
             immediately appealable.” Mohawk Indus., 558 U.S. at 113. As
             relevant here, the Supreme Court has not promulgated any rules




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             that would grant this court appellate jurisdiction over a district
             court’s pleading-stage denial of the church autonomy defense.

                     2. Church Autonomy Doctrine

                  The church autonomy doctrine derives from the Religion
             Clauses of the First Amendment. Church autonomy protects
             against government interference in “matters of faith and
             doctrine and in closely linked matters of internal government.”
             Our Lady of Guadalupe Sch. v. Morrissey-Berru, 591 U.S. 732,
             747 (2020). Accordingly, secular courts may not interpret
             religious law or wade into religious disputes. See Serbian E.
             Orthodox Diocese for the U.S. & Can. v. Milivojevich, 426 U.S.
             696, 708-09 (1976); see also Korte v. Sebelius, 735 F.3d 654,
             677 (7th Cir. 2013) (noting that secular courts must “respect[]
             [religious institutions’] autonomy to shape their own missions,
             conduct their own ministries, and generally govern themselves
             in accordance with their own doctrines as religious
             institutions”). The First Amendment also protects against
             employment discrimination claims brought by ministers
             against their religious employers. See Hosanna-Tabor
             Evangelical Lutheran Church & Sch. v. EEOC, 565 U.S. 171,
             190 (2012). This protection is known as the ministerial
             exception, a narrower offshoot of the broader church autonomy
             doctrine. See Our Lady of Guadalupe, 591 U.S. at 747.

                 These protections afforded by the First Amendment do not
             grant religious institutions a general immunity from secular
             laws. See id. at 746. Courts may adjudicate secular disputes
             involving religious institutions where resolution of the case
             does not require inquiry into doctrinal disputes. See Jones v.
             Wolf, 443 U.S. 595, 602-04 (1979) (holding that courts may
             apply neutral principles of law to resolve church property
             disputes); see also Huntsman v. Corp. of the President of the
             Church of Jesus Christ of Latter-Day Saints, 127 F.4th 784,




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             792 (9th Cir. 2025) (en banc) (“Because nothing in our analysis
             of [plaintiff’s] fraud claims delves into matters of Church
             doctrine or policy, our decision in this case does not run afoul
             of the church autonomy doctrine.”). So long as a court relies
             “exclusively on objective, well-established [legal] concepts,”
             or neutral principles of law, it steers clear of any violations of
             the church autonomy doctrine. Jones, 443 U.S. at 603; see, e.g.,
             McRaney v. N. Am. Mission Bd. of the S. Baptist Convention,
             Inc., 966 F.3d 346, 349 (5th Cir. 2020) (allowing claims of
             defamation, intentional infliction of emotional distress, and
             intentional interference that “ask[] the court to apply neutral
             principles of tort law to a case that, on the face of the complaint,
             involves a civil rather than religious dispute”).

                  As this court has twice made clear, the neutral principles
             approach “permits a court to interpret provisions of religious
             documents involving . . . nondoctrinal matters as long as the
             analysis can be done in purely secular terms.” Minker v. Balt.
             Ann. Conf. of United Methodist Church, 894 F.2d 1354, 1358
             (D.C. Cir. 1990); see EEOC v. Cath. Univ. of Am., 83 F.3d 455,
             466 (D.C. Cir. 1996) (same). “Thus, simply having a religious
             association on one side of the ‘v’ does not automatically mean
             a district court must dismiss the case or limit discovery.” Belya,
             45 F.4th at 630.

                                       II. ANALYSIS

                  The threshold issue in this case is whether this court has
             jurisdiction, pursuant to the collateral order doctrine, to address
             USCCB’s challenge to the District Court’s pleading-stage
             denial of its church autonomy defense. We do not.
             Accordingly, we dismiss the appeal and remand the case to the
             District Court for further proceedings. We do not reach the
             merits of USCCB’s church autonomy claims, nor do we




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             consider USCCB’s argument that O’Connell’s complaint fails
             to state a claim.

                A. Standard of Review

                We determine de novo whether this court may properly
             exercise jurisdiction over this interlocutory appeal.

                B. This Court Has No Jurisdiction to Entertain
                   Appellant’s Interlocutory Appeal

                  As explained at the outset of this opinion, collateral order
             appeals are permissible only in a very small number of cases
             that involve decisions that are conclusive, resolve important
             questions separate from the merits, and are effectively
             unreviewable on appeal from the final judgment in the
             underlying action. Swint, 514 U.S. at 42. USCCB’s
             interlocutory appeal to challenge the District Court’s order
             denying its motion to dismiss based on the church autonomy
             doctrine does not satisfy these rigid requirements. The most
             obvious impediment to USCCB’s action is that it can get
             effective review under 28 U.S.C. § 1291 if the District Court
             issues a final decision against it. USCCB seeks to protect the
             right of the church to manage its own non-secular affairs free
             from governmental interference. This is not a right that will be
             destroyed if not vindicated before trial.

                  Our determination that the right to church autonomy is
             effectively reviewable upon appeal is well-supported by
             existing caselaw. Every circuit to have considered this issue has
             ruled that district court determinations regarding disputes over
             the church autonomy defense are properly reviewed upon post-
             judgment appeal, not pursuant to the collateral order doctrine.
             See Garrick v. Moody Bible Inst., 95 F.4th 1104, 1117 (7th Cir.
             2024), reh’g en banc denied, No. 21-2683, 2024 WL 1892433




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             (7th Cir. Apr. 30, 2024); Belya, 45 F.4th at 634, reh’g en banc
             denied, 59 F.4th 570 (2d Cir. 2023), cert. denied sub nom.
             Synod of Bishops of the Russian Orthodox Church Outside of
             Russ. v. Belya, 143 S. Ct. 2609 (2023); Tucker v. Faith Bible
             Chapel Int’l, 36 F.4th 1021, 1036 (10th Cir. 2022), reh’g en
             banc denied, 53 F.4th 620 (10th Cir. 2022), cert. denied, 143
             S. Ct. 2608 (2023); Herx v. Diocese of Fort Wayne-South Bend,
             Inc., 772 F.3d 1085, 1091-92 (7th Cir. 2014); Klein v. Oved,
             No. 23-14105, 2024 WL 1092324, at *1 (11th Cir. Mar. 13,
             2024). We find the unanimity of our sister circuits on this
             question to be notable and their reasoning persuasive.

                  It is also notable that the Supreme Court has repeatedly
             “insisted that” a collateral order appeal may not be pursued
             unless “the right asserted [will be] essentially destroyed if its
             vindication must be postponed until trial is completed.” Lauro
             Lines s.r.l., 490 U.S. at 499. The possibility that a district court
             ruling before a final decision “may be erroneous and may
             impose additional litigation expense is not sufficient to set
             aside the finality requirement.” Richardson-Merrell, 472 U.S.
             at 436. In this case, USCCB has suggested that the value of the
             church’s rights will be seriously diminished if this court does
             not review and overturn the District Court’s pleading-stage
             denial of its motion to dismiss based on a church autonomy
             defense. This claim has been rejected by all of the courts that
             have addressed the matter in other cases. See, e.g., Belya, 45
             F.4th at 633; Garrick, 95 F.4th at 1117; Tucker, 36 F.4th at
             1036; Herx, 772 F.3d at 1091-92.

                  The point is that it does not matter that litigation may
             impose some burdens on a party before a final decision issues.
             This is insufficient to justify immediate review. In Mohawk
             Industries, for example, the Supreme Court recognized that,
             during trial, parties may be ordered to disclose privileged
             information that intrudes on the confidentiality of attorney-




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             client communications. 558 U.S. at 109. Despite the burden of
             having to produce such information, the Court nevertheless
             concluded that post-judgment appeals “suffice” to protect the
             rights of the litigants. Id. A showing that a party may be
             burdened by having to comply with the final decision rule is
             not proof that the party’s contested rights will be destroyed. See
             Digit. Equip. Corp., 511 U.S. at 871-72.

                  Furthermore, if we were to allow collateral appeals to
             function as an escape valve from adjudicative burdens – or if
             any potential burden on the right at stake were enough to justify
             immediate review – then the collateral order exception would
             expand to swallow the rule. See id. at 868. Church autonomy is
             not the only area in which adjudication may by itself pose a
             significant cost. The same concern exists for orders on personal
             jurisdiction, statutes of limitation, claim preclusion, and the
             right to a speedy trial, to list a few examples. We would risk a
             dramatic expansion of the collateral order doctrine by hinging
             it on concerns of encumbrance – and expansion of the collateral
             order doctrine is precisely the outcome the Supreme Court has
             consistently rejected. The Court has been quite clear in saying
             that the final decision rule may not be bypassed in favor of
             collateral order review merely because it “may impose
             significant hardship on litigants.” Richardson-Merrell, 472
             U.S. at 440.

                  In addition, district courts have ample tools at their
             disposal to limit discovery, tailor jury instructions, and dismiss
             claims as necessary to safeguard against infringements of the
             church autonomy doctrine. See, e.g., Garrick, 95 F.4th at 1117.
             And “[w]hen a case can be resolved by applying well-
             established law to secular components of a dispute, such
             resolution by a secular court presents no infringement upon a
             religious association's independence.” Belya, 45 F.4th at 630.
             If infringements nevertheless occur, then litigants, once armed




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             with a final decision, can seek relief through the standard
             review process. See Gordon Coll. v. DeWeese-Boyd, 142 S. Ct.
             952, 955 (2022) (Alito, J., concurring) (agreeing that nothing
             “would preclude [defendant] from . . . seeking review . . . when
             the decision is actually final” (citation omitted)).

                  Moreover, the Supreme Court has reminded us “that
             litigants confronted with a particularly injurious or novel
             [adverse] ruling have several potential avenues of review apart
             from collateral order appeal.” Mohawk Indus., 558 U.S. at 110.
             Although post-judgment appeals are the norm, a litigant who is
             faced with an adverse church autonomy ruling can ask the
             district court to certify, and the court of appeals to accept, an
             interlocutory appeal pursuant to 28 U.S.C. § 1292(b). Section
             1292 review requires “a controlling question of law as to which
             there is substantial ground for difference of opinion and that an
             immediate appeal from the order may materially advance the
             ultimate termination of the litigation.” 28 U.S.C. § 1292(b).
             The church-defendant in Demkovich v. St. Andrew the Apostle
             Parish, Calumet City pursued this approach and successfully
             availed itself of immediate review. 3 F.4th 968, 974 (7th Cir.
             2021).

                  Litigants can also petition the courts of appeals for a writ
             of mandamus under 28 U.S.C. § 1651 when a disputed order
             “amount[s] to a judicial usurpation of power or a clear abuse of
             discretion” or otherwise works a manifest injustice. Cheney v.
             U.S. Dist. Ct. for D.C., 542 U.S. 367, 390 (2004) (internal
             quotation marks and citations omitted); Mohawk Indus., 558
             U.S. at 111.

                  The Supreme Court has said that these case-specific
             mechanisms provide “‘safety valve[s]’ for promptly correcting
             serious errors” and “will continue to provide adequate
             protection to litigants” in the absence of collateral order




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             appeals. Mohawk Indus., 558 U.S. at 111, 114 (alteration in
             original) (quoting Digit. Equip. Corp., 511 U.S. at 883). And
             they do so without incidentally creating an entire category of
             immediately appealable orders. USCCB has not sought section
             1292 review or a writ of mandamus in this case, so we need not
             address the viability of any such claims here.

                  Our decision to abide by the final decision rule, even when
             an admittedly important right is at stake, is utterly
             unexceptional. The Supreme Court and this court have
             “routinely require[d] litigants to wait until after final judgment
             to vindicate valuable rights.” Mohawk Indus., 558 U.S. at 108-
             09; see, e.g., Flanagan v. United States, 465 U.S. 259, 262-63,
             270 (1984) (Sixth Amendment right to effective assistance of
             counsel); United States v. MacDonald, 435 U.S. 850, 856-57
             (1978) (Sixth Amendment right to speedy trial); Mohawk
             Indus., 558 U.S. at 114 (attorney-client privilege); Doe v.
             Exxon Mobil Corp., 473 F.3d 345, 348 (D.C. Cir. 2007)
             (political question doctrine). Like these other interests, the
             interest of a church in its religious autonomy is undoubtedly
             important, but deferring review until final judgment does not
             so imperil the interest as to justify the cost of allowing
             immediate appeal of an entire class of relevant orders.

                C. Church Autonomy Functions as a Defense to
                   Liability, Not an Immunity from Suit

                  USCCB argues that the church autonomy doctrine
             “protects not only from the consequences of litigation’s results
             but also from the burden of defending from suit.” Opening Br.
             of Defendant-Appellant 20 (internal quotation marks and
             citation omitted). It argues that post-trial review of an order
             denying such protection is insufficient to vindicate the
             constitutional rights at stake. In other words, in an effort to
             avoid the applicable strictures of the final decision rule,




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             USCCB attempts to characterize the church autonomy doctrine
             as a right not to be tried, i.e., as an immunity from suit rather
             than a defense to liability. The church autonomy doctrine,
             however, does not confer immunity from trial such that
             immediate review is warranted.

                  No federal court has ever held that the church autonomy
             doctrine establishes a constitutional right to immunity from suit
             in cases concerning secular claims. Quite the contrary. Several
             circuits have explicitly declined to characterize church
             autonomy as an immunity from trial. See Garrick, 95 F.4th at
             1116 (rejecting argument that the church autonomy doctrine
             confers “immunity from trial”); Herx, 772 F.3d at 1090
             (rejecting argument that the First Amendment “provides an
             immunity from trial, as opposed to an ordinary defense to
             liability”); Tucker, 36 F.4th at 1025 (rejecting “novel argument
             that the ‘ministerial exception’ . . . immunizes religious
             employers altogether from the burdens of even having to
             litigate such claims”); Klein, 2024 WL 1092324, at *1 (church-
             autonomy doctrine “does not immunize religious groups or
             figures from suit”). As the Second Circuit has explained,
             “[w]hen a case can be resolved by applying well-established
             law to secular components of a dispute, such resolution by a
             secular court presents no infringement upon a religious
             association’s independence.” Belya, 45 F.4th at 630.

                  Put simply, if a plaintiff can plausibly assert a secular
             claim capable of resolution according to neutral principles of
             law, the First Amendment does not bar judicial examination of
             that claim. The church autonomy doctrine protects against
             judicial interference in ecclesiastical matters; it does not
             provide religious organizations with a blanket immunity from
             suit, discovery, or trial.




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                  Treating church autonomy as a defense rather than an
             immunity is also consistent with Supreme Court precedent. In
             Hosanna-Tabor, the Supreme Court made clear that the
             ministerial exception “operates as an affirmative defense to an
             otherwise cognizable claim, not a jurisdictional bar.” 565 U.S.
             at 195 n.4. Even though Hosanna-Tabor concerned the
             ministerial exception, the Supreme Court has since recognized
             the exception as a mere “component” of the church autonomy
             doctrine. See Our Lady of Guadalupe, 591 U.S. at 746. Thus,
             when the two decisions are considered together, it seems clear
             that the Court confirmed the church autonomy doctrine is not
             jurisdictional; it is an affirmative defense. And, like any other
             defense, a defense based on church autonomy can be
             adequately addressed after trial.

                D. The Cases Cited by USCCB Do Not Change the Legal
                   Landscape

                  Despite the mountain of precedent against its position,
             USCCB argues that there is caselaw that supports its view in
             favor of collateral order appeals of church autonomy orders.
             We disagree. The cases cited by USCCB clearly do not change
             the result in this case.

                  First, USCCB cites Whole Woman’s Health v. Smith,
             where the Fifth Circuit allowed an interlocutory appeal of an
             order enforcing a subpoena against a third-party religious
             organization. 896 F.3d 362 (5th Cir. 2018). A key distinction,
             however, exists between Whole Woman’s Health and this case:
             There, the Fifth Circuit rested its decision on “the predicament
             of third parties” who “cannot benefit directly from [post-trial]
             relief.” Id. at 367-68. As the Seventh Circuit explained in
             Garrick, when distinguishing Whole Woman’s Health, “[a]n
             order conclusively determining that a nonparty religious
             organization must be subjected to extensive discovery . . . is




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             not comparable to the class of order at issue here.” 95 F.4th at
             1116 n.9 (emphasis added). At issue here – and in Garrick – is
             a class of orders concerning a party to the litigation capable of
             benefiting directly from a post-judgment appeal. Accordingly,
             Whole Woman’s Health is inapposite to the issue at hand.

                  Second, USCCB cites McCarthy v. Fuller, 714 F.3d 971
             (7th Cir. 2013). In McCarthy, a United States representative of
             the Holy See, the central governing body of the Roman
             Catholic Church, issued a declaration that Fuller was not a nun
             or religious sister. 714 F.3d at 973-74. Nevertheless, the district
             court planned to instruct the jury to determine whether Fuller
             was a nun in good standing with the Catholic Church. Id. at
             976. In light of these facts, the Seventh Circuit held in
             McCarthy that the order “requir[ing] a jury to answer a
             religious question” was immediately appealable. Id.

                  However, as the Seventh Circuit later explained in
             Garrick, “[t]he circumstances [in McCarthy] were remarkably
             extreme—the judge had determined that the jury’s judgment
             could preempt that of the Holy See on a decidedly doctrinal
             question, in clear violation of church autonomy.” 95 F.4th at
             1113-14. The Seventh Circuit also made it clear that
             “McCarthy did not create a new category subjecting denials of
             a church autonomy defense to immediate appeal.” Id. at 1114.

                  Third, USCCB argues that “this Court has ‘long allowed’
             interlocutory appeal of ‘alleged injur[ies] [sic] to First
             Amendment rights during the pendency of a case.’” Opening
             Br. of Defendant-Appellant 20 (quoting In re Stone, 940 F.3d
             1332, 1340-41 (D.C. Cir. 2019)). According to USCCB,
             infringing First Amendment rights for even minimal periods of
             time results in irreparable harm. As such, an appeal filed after
             a time-consuming trial is not an effective remedy. Our
             precedent, however, has never gone so far as to say that a mere




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             alleged violation of the First Amendment is sufficient for
             collateral order appeal.

                   In each of the cases cited by USCCB, this court indicated
             that an interlocutory appeal would be permissible only because
             there was a dispute over an order restricting speech during the
             pendency of the case. See Trump, 88 F.4th at 1001; In re Stone,
             940 F.3d at 1340; In re Rafferty, 864 F.2d 151, 154 (D.C. Cir.
             1988); see also Marceaux v. Lafayette City-Parish Consol.
             Gov’t, 731 F.3d 488, 490-91 (5th Cir. 2013). In these cases
             involving orders restricting speech, waiting for post-judgment
             review would have effectively defeated the right to any review
             at all. By the time judgment was entered, the party complaining
             would have already lost its right to speak while the case was
             pending. We have no such scenario in this case.

                  USCCB also cites a similar case, Roman Catholic Diocese
             of Brooklyn v. Cuomo, 592 U.S. 14 (2020), which concerned a
             district court’s denial of a preliminary injunction. Even though
             the order did not involve a restriction on speech, it did involve
             a restriction on the ability of the faithful to attend religious
             services during the pendency of litigation – a right that could
             not be restored after trial. No such restriction on speech or
             religious practice is present in this case to justify interlocutory
             review. Furthermore, the courts of appeals have jurisdiction
             under 28 U.S.C. § 1292(a)(1) to address interlocutory appeals
             challenging the issuance of a preliminary injunction by a
             district court. The District Court in this case has not issued an
             injunction against USCCB.

                  Fourth, USCCB cites some cases in which we have noted
             that there is an “immediate harm arising from the process of
             inquiry into religious disputes.” Br. of Defendant-Appellant 21
             (citing Cath. Univ. of Am., 83 F.3d at 466-67; Univ. of Great
             Falls v. NLRB, 278 F.3d 1335, 1341-43 (D.C. Cir. 2002);




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             Duquesne Univ. of the Holy Spirit v. NLRB, 947 F.3d 824, 829-
             30 (D.C. Cir. 2020)). Importantly, none of these cases involved
             an application of the collateral order doctrine. Rather, all three
             cases involved an appeal after a final decision had been issued.
             None of the cited cases even suggests that “harm arising from
             the process of inquiry into religious disputes” warrants
             immediate review. Br. of Defendant-Appellant 21.

                  Finally, USCCB argues that its “specific First Amendment
             rights imperiled here are structural protections akin to the
             separation of powers, which have long received interlocutory
             review.” Opening Br. of Defendant-Appellant 22. Even if we
             were to accept USCCB’s claim that church autonomy is a
             structural protection, “[m]ost separation-of-power claims are
             clearly not in [the] category” of collaterally appealable orders.
             United States v. Cisneros, 169 F.3d 763, 769 (D.C. Cir. 1999).

                  In Cisneros, a former Secretary of Housing and Urban
             Development argued that “the very conduct of the trial” against
             him would “violate the separation of powers by causing the
             courts to invade the exclusive constitutional province of
             coordinate branches.” Id. Like Cisneros, USCCB makes a
             separation-of-powers claim to avoid trial. Such reliance on the
             separation of powers, however, was not enough in Cisneros
             and it is not enough here. This court held in Cisneros that
             “[n]othing Cisneros argue[d] amount[ed] to a right not to be
             tried.” Id. “Cisneros, like any criminal defendant, may raise
             separation of powers as a defense. But it scarcely follows that
             whenever a defendant relies on the separation-of-powers
             doctrine, the defendant’s right must be treated as if it rested on
             an explicit guarantee that trial will not occur.” Id. (cleaned up)
             (internal quotation marks and citation omitted). In other words,
             invoking separation of powers is not enough to transform a
             defense into an immunity. Rather, any “constitutional affront”
             to the separation of powers “flowing from an adjudication”




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             would be “fully reviewable on appeal should the defendant be
             convicted.” Id. Thus, even assuming a violation of the church
             autonomy doctrine is akin to a violation of the separation of
             powers, that violation can be reviewed upon post-judgment
             appeal.

                  To conclude, the federal courts of appeals – and the
             Supreme Court – routinely reject parties’ efforts to invoke the
             collateral order doctrine for a wide variety of important rights.
             And each circuit that has considered extending the collateral
             order doctrine to cover the right to church autonomy has
             declined. We join our sister circuits in doing the same: Claims
             regarding the right to church autonomy are reviewable upon
             final judgment and, accordingly, not subject to collateral order
             appeal. And, as explained above, should extreme
             circumstances arise where immediate relief is required,
             litigants have alternative appellate options at their disposal.

                 E. Final Considerations

                  We have already made the point that a pleading-stage
             denial of the church autonomy defense is clearly reviewable
             upon final judgment. This holding is sufficient to decide this
             case. However, lest the point be missed, it is important to note
             that a pleading-stage denial also lacks the conclusiveness
             required for collateral order appeal. This case remains at the
             earliest stages of litigation with many more steps before the
             finish line. USCCB can continue to assert the church autonomy
             defense during discovery, in future dispositive motions, before
             trial, and during trial. The contested District Court order
             therefore is not “conclusive” because it is not a “final rejection”
             of USCCB’s asserted church autonomy defense. Indeed, for an
             order to conclusively determine the issue, there must be “no
             further steps that can be taken in the District Court to avoid”
             infringing on USCCB’s religious autonomy. Mitchell, 472 U.S.




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             at 527 (internal quotation marks omitted). Here, it is possible
             that at some later stage, USCCB’s church autonomy defense
             may require limiting the scope of the suit or the extent of
             discovery, or even warrant dismissal of the suit in its entirety;
             these are “further steps” that remain available to the District
             Court to safeguard against First Amendment violations.

                   USCCB argues that collateral order review is warranted
             because the District Court “conclusively determined
             . . . whether USCCB may be compelled to defend on the
             merits.” Opening Br. of Defendant-Appellant 24. The
             defendants in Belya made the same argument before the
             Second Circuit: “[T]heir claim is that the district court’s orders
             are the final decision on whether discovery can proceed; thus,
             Defendants contend, the orders constitute a final rejection.” 45
             F.4th at 631 (internal quotation marks omitted). Our sister
             circuit rejected that argument in Belya, and we do so here as
             well.

                  USCCB cites Process & Industrial Developments Ltd. v.
             Federal Republic of Nigeria, 962 F.3d 576 (D.C. Cir. 2020), in
             support of its position that it has a right to collateral order
             review to ensure that it will not be required to go through
             discovery. This decision is inapposite because it involves the
             application of foreign sovereign immunity. Id. at 581. Unlike
             the church autonomy doctrine, questions of sovereign
             immunity have long been held by the Supreme Court and this
             court to be immediately appealable. See, e.g., P.R. Aqueduct,
             506 U.S. at 147; Foremost–McKesson, Inc. v. Islamic Republic
             of Iran, 905 F.2d 438, 443 (D.C. Cir. 1990). As we have
             explained, however, pleading-stage denials of a church
             autonomy defense do not satisfy the requirements of the
             collateral order doctrine.




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                                   III. CONCLUSION

                  Because USCCB’s appeal falls outside of the collateral
             order doctrine’s narrow and selective class of claims subject to
             interlocutory review, we dismiss the appeal for lack of
             jurisdiction without reaching the merits of USCCB’s church
             autonomy defense or USCCB’s argument that O’Connell failed
             to state a claim.

                                                                 So ordered.




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             CERTIFICATE AS TO PARTIES, RULINGS,
                     AND RELATED CASES
   Pursuant to Circuit Rule 28(a)(1), counsel of record certifies as follows:
      A. Parties. The following are parties and amici curiae in this Court:
        a. Plaintiff-Appellee: David O’Connell.
        b. Defendant-Appellant: United States Conference of
           Catholic Bishops.
        c. Amici Curiae:
           1. Michael W. McConnell
           2. Douglas Laycock
           3. Richard W. Garnett
           4. Eugene Volokh
           5. Thomas C. Berg
           6. Elizabeth Clark

           7. Christopher C. Lund
           8. Michael P. Moreland
           9. Robert J. Pushaw

           10. Lael Weinberger
           11. Derek T. Muller
           12. Jewish Coalition for Religious Liberty

           13. General Conference of Seventh-day Adventists
           14. Assembly of Canonical Orthodox Bishops of the United
               States of America
           15. The Church of Jesus Christ of Latter-day Saints
           16. National Association of Evangelicals
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           17. Lutheran Church—Missouri Synod
           18. Muslim Public Affairs Council
           19. Americans United for Separation of Church and State
      B. Rulings Under Review. The panel’s decision was issued on April
        25, 2025, and is reported at 2025 WL 1198433. The underlying
        ruling under review is the 11/17/2023 Minute Order issued by

        Judge Cobb. A6. No formal citation exists. The district court’s
        reasoning can be found in the Joint Appendix, at pages A145
        through A155.
      C. Related Cases. Appellant is unaware of any related cases
        pending in this Court or in any other court.
      D. Rule 26.1 Disclosure. Counsel of record for Defendant United

        States Conference of Catholic Bishops (USCCB) certifies that
        USCCB is a 501(c)(3) non-profit corporation. USCCB has no
        parent, subsidiary, affiliate, or company which owns at least 10%

        of its stock.


                                            /s/ Daniel H. Blomberg
                                            Daniel H. Blomberg




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